 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6563 Page 1 of 25




     JOSEPH H. HUNT                              Lee Gelernt*
 1
     Assistant Attorney General                  Judy Rabinovitz*
 2   SCOTT G. STEWART                            Anand Balakrishnan*
     Deputy Assistant Attorney General           AMERICAN CIVIL LIBERTIES
 3
     WILLIAM C. PEACHEY                          UNION FOUNDATION
 4   Director                                    125 Broad St., 18th Floor
 5   Office of Immigration Litigation            New York, NY 10004
     WILLIAM C. SILVIS                           T: (212) 549-2660
 6   Assistant Director                          F: (212) 549-2654
 7   Office of Immigration Litigation            lgelernt@aclu.org
     SARAH B. FABIAN                             jrabinovitz@aclu.org
 8   Senior Litigation Counsel                   abalakrishnan@aclu.org
 9   NICOLE MURLEY
     Trial Attorney                              Bardis Vakili (SBN 247783)
10   Office of Immigration Litigation            ACLU FOUNDATION OF
11   U.S. Department of Justice                  SAN DIEGO & IMPERIAL
     Box 868, Ben Franklin Station               COUNTIES
12   Washington, DC 20442                        P.O. Box 87131
13   Telephone: (202) 532-4824                   San Diego, CA 92138-7131
     Fax: (202) 616-8962                         T: (619) 398-4485
14                                               F: (619) 232-0036
15 ADAM L. BRAVERMAN                             bvakili@aclusandiego.org
   United States Attorney
16 SAMUEL W. BETTWY                              Stephen B. Kang (SBN 292280)
17 Assistant U.S. Attorney                       Spencer E. Amdur (SBN 320069)
   California Bar No. 94918                      AMERICAN CIVIL LIBERTIES
18 Office of the U.S. Attorney                   UNION FOUNDATION
19 880 Front Street, Room 6293                   39 Drumm Street
   San Diego, CA 92101-8893                      San Francisco, CA 94111
20 619-546-7125                                  T: (415) 343-1198
21 619-546-7751 (fax)                            F: (415) 395-0950
                                                 skang@aclu.org
22 Attorneys for Federal Respondents-            samdur@aclu.org
23 Defendants
                                                 Attorneys for Petitioners-
24                                               Plaintiffs
25                                               *Admitted Pro Hac Vice
26
27
28
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6564 Page 2 of 25




 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                      Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                         JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11
12         The Court ordered the parties to file a joint status report (“JSR”) by 3:00pm on

13 June 6, 2019, in anticipation of the status conference scheduled at 1:00pm on June
14
     7, 2019. The parties submit this joint status report in accordance with the Court’s
15
16 instruction.
17 I.      DEFENDANTS’ POSITIONS
18
        A. Update on Reunifications for the Original Class Period
19
20      As of June 4, 2019, Defendants have discharged 2,773 of 2,814 possible children

21 of potential class members for the original class period. That is, Defendants have
22
   discharged 2,773 of the 2,814 possible children of potential class members who were
23
24 in the care of the Office of Refugee Resettlement (ORR) as of June 26, 2018. See
25 Table 1: Reunification Update. This is an increase of seven discharges reported in
26
   Table 1 since the JSR filed on May 7, 2019. See ECF No. 407. One of the seven
27
28

                                                1                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6565 Page 3 of 25



     children was reunified with the separated parent; 1 and the remaining six were
 1
 2 discharged under other appropriate circumstances, such as discharges to other
 3
     appropriate sponsors.
 4
 5       Currently, there is one child of a class member from the original class period who

 6 remains in ORR care and is proceeding towards reunification or other appropriate
 7
     discharge. This child has a parent who departed from the United States, but the
 8
 9 Steering Committee has advised that resolution of parental preference will be
10 delayed. Defendants are supporting the efforts of the Steering Committee to obtain
11
     a statement of intent from the parent. Once Defendants receive notice from the
12
13 Steering Committee, Defendants will either reunify the child or move him into the
14 TVPRA sponsorship process, consistent with the intent of the parent.
15
         The current reunification status for the 2,814 children ages 0 through 17 for the
16
17 original class period, who have been the focus of Defendants’ reporting to date, is
18 further summarized in Table 1. The data in Table 1 reflects approximate numbers on
19
   these children maintained by ORR at least as of June 4, 2019. These numbers are
20
21 dynamic and continue to change as more reunifications, determinations on class
22 membership, or discharges occur.
23
24
25   1
     This parent was in ICE custody as of the filing of the previous JSR, see ECF No. 407, when he
26 was reported as “out of class” due to fitness concerns. However, he was subsequently discharged
   from ICE custody into the interior of the United States. Upon his discharge from ICE custody,
27 ORR immediately reunified the parent with his child.
28

                                                  2                                 18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6566 Page 4 of 25



                               Table 1: Reunification Update
 1
                                                      Phase 1   Phase 2
 2                   Description                      (Under 5) (5 and Total
                                                                above)
 3   Total number of possible children of
     potential class members                       107           2707     2814
 4
                                  Discharged Children
 5
     Total children discharged from ORR care:           106     2667      2773
 6
 7   • Children discharged by being reunified      82        2085         2167
       with separated parent
 8   • Children discharged under other
 9     appropriate circumstances (these include
       discharges to other sponsors [such as       24        582          606
10     situations where the child’s separated
11     parent is not eligible for reunification]
       or children that turned 18)
12                       Children in ORR Care, Parent in Class
13   Children in care where the parent is not
14   eligible for reunification or is not available      0        1        1
     for discharge at this time:
15   • Parent presently outside the U.S.            0           1          1
16          o Steering Committee has advised        0           1          1
               that resolution will be delayed
17
     • Parent presently inside the U.S.             0           0          0
18          o Parent in other federal, state, or
                                                    0           0          0
19             local custody
            o Parent red flag case review           0           0          0
20             ongoing – safety and well being
21                      Children in ORR Care, Parent out of Class
     Children in care where further review
22   shows they were not separated from parents     1           6          7
     by DHS
23   Children in care where a final
     determination has been made they cannot        0          14          14
24   be reunified because the parent is unfit or
     presents a danger to the child
25   Children in care with parent presently
26   departed from the United States whose          0          17          17
     intent not to reunify has been confirmed by
27   the ACLU

28

                                                3                       18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6567 Page 5 of 25



     Children in care with parent in the United
 1   States who has indicated an intent not to           0          1             1
     reunify
 2   Children in care for whom the Steering
     Committee could not obtain parental                 0          1             1
 3   preference
 4
        B. Update on Removed Class Members for the Original Class Period
 5
 6      The current reunification status of removed class members for the original class

 7 period is set forth in Table 2 below. The data presented in this Table 2 reflects
 8
     approximate numbers maintained by ORR as of at least June 4, 2019. These
 9
10 numbers are dynamic and continue to change as the reunification process moves
11 forward.
12
                   Table 2: Reunification of Removed Class Members
13
      REUNIFICATION REPORTING METRIC                  NO.                 REPORTING
14    PROCESS                                                             PARTY
      STARTING
15    POPULATION    Children in ORR care with parents 19
                    presently departed from the U.S.                      Defs.
16
17    PROCESS 1:
      Identify & Resolve Children with no “red flags” for           19    Defs.
18    Safety/Parentage   safety or parentage
      Concerns
19
      PROCESS 2:             Children with parent contact
20    Establish Contact      information identified                 19    Defs.
      with Parents in
21    Country of Origin      Children with no contact issues
                             identified by plaintiff or defendant   19    Defs. & Pls.
22
                             Children with parent contact
23                           information provided to ACLU by        19    Defs.
                             Government
24
25    PROCESS 3:             Children for whom ACLU has
      Determine              communicated parental intent for       17    Pls.
26                           minor:
27
28

                                              4                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6568 Page 6 of 25



     Parental Intention
 1   for Minor               • Children whose parents           17   Pls.
                               waived reunification
 2
                             • Children whose parents
 3                                                              0    Pls.
                                chose reunification in
 4                              country of origin
                             • Children proceeding outside      0    Pls.
 5
                                the reunification plan
 6                        Children for whom ACLU has not
                          yet communicated parental intent      1    Pls.
 7                        for minor:
                             • Children with voluntary
 8                                                              0    Defs.
                                departure orders awaiting
 9                              execution
                             • Children with parental
10
                                intent to waive reunification   0    Defs.
11                              documented by ORR
12                           • Children whose parents
                                ACLU has been in contact        0    Pls.
13                              with for 28 or more days
14                              without intent determined
                          Children whose parents steering
15                        committee could not obtain            1    PIs
                          parental preference
16
     PROCESS 4:          Total children cleared Processes 1-
17   Resolve             3 with confirmed intent for            0    Pls.
     Immigration         reunification in country of origin
18   Status of Minors to
     Allow                  • Children in ORR care with
19   Reunification              orders of voluntary             0    Defs.
20                              departure
                            • Children in ORR care w/o
21                              orders of voluntary             0    Defs.
22                              departure
                                 o Children in ORR care
23                                  whose immigration           0    Defs.
24                                  cases were dismissed
25
26
27
28

                                           5                           18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6569 Page 7 of 25



          C. Update Regarding Government’s Implementation of Settlement
 1
             Agreement
 2
             SETTLEMENT                  DESCRIPTION                        NUMBER
 3              PROCESS
         Election Forms 2            Total number of executed         365 (234 Parents/131
 4                                   election forms received               Children)3
                                     by the Government
 5                                      • Number who elect            206 (133 Parents/73
                                            to receive                     Children)
 6                                          settlement
                                            procedures
 7                                      • Number who                  159 (101 Parents/58
                                            waive settlement               Children)4
 8                                          procedures
 9       Interviews                  Total number of class                     1415
                                     members who received
10                                   interviews
                                        • Parents who                            74
11                                          received
                                            interviews
12                                      • Children who                           67
                                            received
13                                          interviews
         Decisions                   Total number of CFI/RFI                    66 6
14                                   decisions issued for
                                     parents by USCIS
15
16   2
     The number of election forms reported here is the number received by the Government as of May
17 28, 2019.
   3
     The number of children’s election forms is lower than the number of parent election forms
18 because in many instances a parent electing settlement procedures submitted an election form on
19 his or her own behalf or opposing counsel e-mailed requesting settlement implementation for the
   entire family, but no separate form was submitted on behalf of the child.
20   4
     The number of children’s waivers is lower because some parents have submitted waivers only
21 for themselves and some parents who have waived reunification also waived settlement procedures
   and have therefore not provided a form for the child.
22   5
     Some individuals could not be interviewed because of rare languages; these individuals were
   placed in Section 240 proceedings. This number includes credible fear and reasonable fear
23 interviews, as well as affirmative asylum interviews.
24   6
     This number is the aggregate of the number of parents whose negative CFI/RFI determinations
   were reconsidered, number of parents whose negative CFI/RFI determination was unchanged, and
25 individuals who were referred to 240 proceedings without interview because of a rare language.
26 This number excludes 12 cases where a parent already had an NTA from ICE or was already
   ordered removed by an IJ (which are included in the interview totals).
27
28

                                                  6                                   18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6570 Page 8 of 25



                                          • Number of parents                      66 7
 1                                           determined to
                                             establish CF or RF
 2                                           upon review by
                                             USCIS
 3                                        • Number of parents                       0
                                             whose CF or RF
 4                                           finding remains
                                             negative upon
 5                                           review by USCIS
                                      Total number of CFI                          73 8
 6                                    decisions issued for
                                      children by USCIS
 7                                        • Number of                              73 9
                                             children
 8                                           determined to
                                             establish CF by
 9                                           USCIS
                                          • Number of                               0
10                                           children
                                             determined not to
11                                           establish CF by
                                             USCIS
12                                    Total number of                               2
                                      affirmative asylum
13                                    decisions by USCIS
                                          • Number of parents                       1
14                                           granted asylum by
                                             USCIS
15                                        • Number of                              1 10
16                                           children granted
                                             asylum by USCIS
17
18
19
20   7
    This number includes parents who received positive CF/RF determinations upon reconsideration,
21 parents who received a Notice to Appear based on their child’s positive CF determination, and
   parents who were placed in Section 240 proceedings due to a rare language.
22   8
     This number is the aggregate of the number of children who received a positive CF determination,
23 the number of children who received a negative CF determination, and children who were referred
   to 240 proceedings without interview because of a rare language.
24   9
     This number includes children who received a positive CF determination, children who received
25 a Notice to Appear as a dependent on their parent’s positive CF determination, and children who
   were placed in Section 240 proceedings due to a rare language.
26   10
      This number includes children granted asylum as a dependent on their parent’s asylum
27 application.

28

                                                    7                                   18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6571 Page 9 of 25




 1    Removals                            Number of class               101 Parents11
                                          members who have been
 2                                        returned to their country
                                          of origin as a result of
 3                                        waiving the settlement
                                          procedures
 4
 5         D. Parents Who ICE Records Reflect Have Absconded After Being
              Released
 6
 7          Absconders                        Number of Parents       15912
                                              who absconded from
 8                                            enrollment in ATD
                                              (Alternatives To
 9                                            Detention)
10
11         E. Update Regarding Identification of Expanded Class Members
12
               On April 25, 2019, the Court approved Defendants’ Plan for identifying
13
     members of the expanded class. In order to keep the Court updated on Defendants’
14
15 progress with regard to this plan, Defendants submit the attached declarations from
16
     Jallyn Sualog, Jay Visconti, and Dawnisha Helland.
17
               With regard to the HHS file review, HHS also provides the following update.
18
19 HHS has determined the correct number of cases to be reviewed was 32,972 (and
20
     not 47,083 as previously stated). HHS has since completed a preliminary review of
21
22 all the case files. To ensure accuracy and completeness, however, HHS is currently
23 doing a quality control of the negative results. Because HHS has completed its initial
24
25
26   11
          This number is as of May 28, 2019.
27   12
          Data from time period of May 4, 2018 to May 24, 2019.

28

                                                         8                     18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6572 Page 10 of 25



     review of all the case files, it has discontinued the procurement to hire and train a
 1
 2 team of data scientists and scalable teams of record reviewers.
 3
        F. Pending Motion Regarding Released Settlement Class Members
 4
 5         Plaintiffs reached out with one inquiry regarding this issue which Defendants

 6 understand was subsequently resolved. Defendants have heard nothing further from
 7
     Plaintiffs regarding this issue and believe this issue to have been resolved.
 8
 9      G. Children Awaiting Placement.

10         Plaintiffs sent an inquiry on May 15, 2019 regarding nine children who they
11
     believed remained in ORR custody. Defendants have reviewed those cases and
12
13 provided a response to Plaintiffs regarding these nine children on June 3, 2019. In
14 summary, one of the nine children returned to his home country; two children have
15
     potential sponsors who are currently undergoing the TVPRA release process; and
16
17 six children either have no available sponsor, or the child has indicated that he or
18 she does not seek release to the potential sponsors identified.
19
      H. Government Processes, Procedures, and Tracking, for Separations Since
20       June 26, 2018.
21
            1. Data Requested by Plaintiffs
22
23       Defendants are providing Plaintiffs updated reports containing information

24 regarding parents and children separated since the Court’s June 26, 2018
25
   preliminary-injunction order on the Friday following the filing of each JSR.
26
27
28

                                               9                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6573 Page 11 of 25



              2. Processes and Procedures
 1
 2         Defendants have provided a summary outline memorializing the processes,
 3
     procedures, tracking, and communication between the agencies that have been
 4
 5 adopted by the agencies since June 26, 2018. The outline also included an overview
 6 of the options for separated parents and children to obtain information about
 7
     reunification options. Defendants also have reached out to representatives for the
 8
 9 Bureau of Prisons and the U.S. Marshals Service to ensure that those entities are
10 included in discussions regarding these processes and procedures.
11
           On March 4, 2019, Plaintiffs and lawyers for the children’s legal service
12
13 providers sent comments and questions in response to the government’s proposals.
14 Defendants reviewed those comments and questions, and the parties met and
15
     conferred on April 15, 2019, regarding those inquiries. On May 28, 2019, Plaintiffs
16
17 sent additional commends related to Defendants’ proposals. Defendants are
18 considering those comments and will follow up with Plaintiffs as soon as possible.
19
20
21
22
23
24
25
26
27
28

                                             10                            18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6574 Page 12 of 25




 1 II.     MS. L. PLAINTIFFS’ POSITION
 2 1.      Centralized Database and Procedures and Standards to Govern Further
 3         Separations
 4         On May 28, Plaintiffs provided Defendants with a counterproposal regarding

 5 the protocols for inter-agency information sharing about continued family
 6 separations. Defendants are reviewing that counterproposal. The parties will
 7 continue to meet and confer on this issue.
 8 2.    Deported Parents and Settlement

 9         On June 6, Plaintiffs filed a motion seeking relief for 21 deported parents

10 who were separated from their children. See ECF No. 418. As set out in that
11 motion, the parents submitted applications for return pursuant to the Settlement
12 Agreement, which Defendants denied. These parents are seeking Court
13 intervention to allow them a path to reunify with their children in the United States.
14         Plaintiffs request that the Court set a briefing schedule and hearing date for

15 the motion.
16 3.    Identification of Expanded Class Members

17         As of 5:30 p.m. on June 6, when Plaintiffs sent their part of the JSR to the

18 government, Plaintiffs have not received any information about members of the
19 expanded class.
20 4.      Steering Committee Progress

21         The Steering Committee has successfully contacted and confirmed the

22 preferences of nearly all removed parents with respect to reunifications. On May
23 10, the government reported that, as of May 1, 23 children with removed parents
24 remained in ORR custody. The Committee has advised the government that no
25 preference will be forthcoming for one of those parents due to complex and
26 individualized family circumstances, leaving 22 children with removed parents in
27 the operative group. The Committee has delivered preferences for the parents of 21
28

                                              11                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6575 Page 13 of 25




 1 of those children. The parent of the remaining child is seeking to return to the
 2 United States under the Settlement Agreement, and the Steering Committee has
 3 advised the government that the delivery of a parental reunification election in this
 4 case will therefore be delayed.
 5          The status of efforts based on the operative group of 22 children in ORR
 6 custody with removed parents appears in the table immediately below. 13
 7    Removed parents identified by the government to the Steering             22
 8    Committee as of 5/10/2019
 9
10    Parent’s final preference has been communicated to the government        21 14
11
          • Parent has elected reunification in Country of Origin              0
12
13        • Parent has elected to waive reunification in Country of Origin     21
14    Total number of cases where the parent seeks to return to the U.S.       1
15
16 E.       Children Whose Parents Have Submitted Preferences and Are Still
            Detained
17
18          In February, the Steering Committee began sending the government

19 information about children who remained in ORR care months after the Steering
20 Committee had submitted their final reunification election. As of May 1, 21
21 children of class members remained in ORR care who had previously submitted
22   13
      As discussed at the October 25 Status Conference, Plaintiffs are reporting a set
23 of detailed numbers based on the government’s most recent list of children in ORR
   custody with removed parents. The numbers presented in this Joint Status Report
24 are based on the numbers provided by the government in its May 10 data exchange
25 to Plaintiffs, excluding the one child for which no preference will be forthcoming.
            14
26              The Steering Committee determined that for one child it was
   appropriate to report the preference of a non-removed parent because the Steering
27 Committee was unable to reach the removed parent.
28

                                             12                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6576 Page 14 of 25




 1 final reunification elections. Six of the 21 have now been in ORR care more than
 2 nine months after the Steering Committee submitted their final reunification
 3 election with a sponsor identified. The parties will continue to meet and confer on
 4 this issue.
 5
     III.   MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 6
 7          The parties continue to work together to implement the settlement agreement

 8 approved on November 15, 2018. Counsel for Plaintiffs are providing the
 9
     government with signed waiver forms as they are received from class members. The
10
11 parties continue to meet and confer on issues related to settlement implementation
12 as they arise, including issues regarding interviews for class members, statistical
13
   reporting, and various individualized issues. In addition, the parties continue to work
14
15 through how best to identify and contact class members who may be in need of
16 settlement relief. The parties will alert the Court of any issues that require the Court’s
17
   guidance.
18
19
20
21
22
23
24
25
26
27
28

                                               13                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6577 Page 15 of 25




 1 DATED: June 6, 2019               Respectfully submitted,
 2                                   /s/ Lee Gelernt
 3                                   Lee Gelernt*
                                     Judy Rabinovitz*
 4                                   Anand Balakrishnan*
 5                                   AMERICAN CIVIL LIBERTIES UNION
                                     FOUNDATION
 6                                   125 Broad St., 18th Floor
 7                                   New York, NY 10004
                                     T: (212) 549-2660
 8                                   F: (212) 549-2654
 9                                   lgelernt@aclu.org
                                     jrabinovitz@aclu.org
10                                   abalakrishnan@aclu.org
11
                                     Bardis Vakili (SBN 247783)
12                                   ACLU FOUNDATION OF SAN DIEGO
13                                   & IMPERIAL COUNTIES
                                     P.O. Box 87131
14                                   San Diego, CA 92138-7131
15                                   T: (619) 398-4485
                                     F: (619) 232-0036
16                                   bvakili@aclusandiego.org
17
                                     Stephen B. Kang (SBN 292280)
18                                   Spencer E. Amdur (SBN 320069)
19                                   AMERICAN CIVIL LIBERTIES UNION
                                     FOUNDATION
20
                                     39 Drumm Street
21                                   San Francisco, CA 94111
                                     T: (415) 343-1198
22
                                     F: (415) 395-0950
23                                   skang@aclu.org
                                     samdur@aclu.org
24
25                                   Attorneys for Petitioners-Plaintiffs
                                           *Admitted Pro Hac Vice
26
27
28

                                       14                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6578 Page 16 of 25



                                     JOSEPH H. HUNT
 1                                   Assistant Attorney General
 2                                   SCOTT G. STEWART
                                     Deputy Assistant Attorney General
 3                                   WILLIAM C. PEACHEY
 4                                   Director
                                     WILLIAM C. SILVIS
 5                                   Assistant Director
 6
                                     /s/ Sarah B. Fabian
 7                                   SARAH B. FABIAN
 8                                   Senior Litigation Counsel
                                     NICOLE MURLEY
 9                                   Trial Attorney
10                                   Office of Immigration Litigation
                                     Civil Division
11                                   U.S. Department of Justice
12                                   P.O. Box 868, Ben Franklin Station
                                     Washington, DC 20044
13                                   (202) 532-4824
14                                   (202) 616-8962 (facsimile)
                                     sarah.b.fabian@usdoj.gov
15
16                                   ADAM L. BRAVERMAN
                                     United States Attorney
17                                   SAMUEL W. BETTWY
18                                   Assistant U.S. Attorney
19
                                     Attorneys for Respondents-Defendants
20
21
22
23
24
25
26
27
28

                                      15                           18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6579 Page 17 of 25
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6580 Page 18 of 25
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6581 Page 19 of 25
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6582 Page 20 of 25
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6583 Page 21 of 25



                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA


   Ms. L., et al.,                      )
          Plaintiffs,                   )
                                        )
                                        )
   v.                                   )                      No. 3:18-cv-00428-DMS-MDD
                                        )
   U.S. Immigration and Customs         )
   Enforcement, et al.,                 )
          Defendants.                   )
                                        )

                               DECLARATION OF JAY VISCONTI

          I, Jay Visconti, pursuant to 28 U.S.C. § 1746, and based upon my personal knowledge

   and information made known to me from official records and reasonably relied upon in the

   course of my employment, hereby declare as follows, relating to the above-captioned matter:

        1. I am an Assistant Chief with the United States Border Patrol (USBP) currently serving

            in the capacity as a Senior Advisor to the Chief Operating Officer and Senior Official

            Performing the Functions and Duties of the Commissioner, U.S. Customs and Border

            Protection (CBP), Department of Homeland Security. I have been in this role since

            July, 2016. In this role, I am responsible for directly supporting and advising the Chief

            Operating Officer and Senior Official Performing the Functions and Duties of the

            Commissioner and the Deputy Commissioner on issues such as USBP’s strategic,

            operational and tactical plans, policies and procedures governing threats, such as:

            terrorist organizations, criminal organizations, illegal immigration/human smuggling,

            narcotics and contraband smuggling, transnational gangs, threats to legitimate trade and

            travel, and imported consumer products jeopardizing public safety. An additional role

            that I perform is as the Director of the CBP Statistical Tracking and Analysis Team

                                                   1
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6584 Page 22 of 25



          (STAT), which provides high-level analysis and reporting into CBP’s immigration and

          seizure data. Because of my work with the CBP STAT, and my previous position as the

          Assistant Chief over the USBP’s Statistics and Data Integrity (SDI) Branch, I was

          involved in the previous Ms. L reunification efforts, and was again called upon to be the

          CBP Operational Lead for the government’s plan to account for the members of the

          expanded class.

       2. Prior to serving in this position, I was the Assistant Chief over the USBP SDI Branch,

          where I provided day to day statistics and analysis to USBP senior leadership as well as

          ensuring data quality within the USBP data. I have been a U.S. Border Patrol agent

          since January 2, 1996. The U.S. Border Patrol (USBP) is the operational component of

          CBP with the responsibility of, among other things, apprehending individuals who enter

          between the ports of entry.

       3. I am familiar with the Ms. L litigation, and have personally participated in CBP efforts

          related to this litigation. In July 2018, I served as CBP’s main point of contact in the

          interagency effort to identify and reunify the children of Ms. L class members. During

          this role, I worked closely with the Department of Health and Human Services (HHS)

          and U.S. Immigration and Customs Enforcement (ICE). I worked with the HHS

          ASPER Data team to reconcile unaccompanied alien children file records identified by

          HHS as possible separations with the relevant data in CBP’s electronic systems of

          records.

       4. I am also familiar with CBP’s efforts to record and track family separations in CBP’s

          electronic systems of records, and work closely with relevant individuals in both the




                                                  2
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6585 Page 23 of 25



            U.S. Border Patrol and Office of Field Operations on such efforts. I also communicate

            regularly with my colleagues at ICE Enforcement and Removal Operations (ERO).

        5. As of June 3rd, 2019, CBP has received six lists from HHS to review for potential

            expanded class members. CBP compares the information on the HHS lists of potential

            expanded class members with the data in CBP’s systems of records to determine which

            individuals on the lists are confirmed separations.

        6. These lists were provided by HHS on a rolling basis, and CBP is handling them on a

            rolling basis.

        7. Between May 21 and June 3, 2019, CBP completed review on and sent to ICE three

            updated lists based off of the original six lists from HHS. CBP continues to work on

            the three other lists.

        8. I continue to have regular contact with the CBP teams actually doing the data

            verifications, and with ICE and HHS to assure that the process of verifying the names is

            progressing smoothly, and any issues are timely addressed.

        9. I make this declaration in order to provide an update on the progress CBP is making as

            part of the government’s plan to identify the members of the expanded class, and to

            explain CBP’s role in the process, following my previous declaration.

        10. I declare that the foregoing is true and correct to the best of my knowledge,

            information, and belief.

   Executed this ___
                 6th day of June, 2019.


                                     ____________________________________
                                     Jay Visconti
                                     Senior Advisor
                                     U.S. Customs and Border Protection


                                                   3
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6586 Page 24 of 25
Case 3:18-cv-00428-DMS-MDD Document 422 Filed 06/06/19 PageID.6587 Page 25 of 25
